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18
                                    UNITED STATES DISTRICT COURT
19
                               NORTHERN DISTRICT OF CALIFORNIA
20

21
       IN RE: SOCIAL MEDIA ADOLESCENT                 Case No. 4:22-MD-03047-YGR
22     ADDICTION/PERSONAL INJURY
       PRODUCTS LIABILITY LITIGATION                  MDL No. 3047
23

24                                                    STIPULATION AND [PROPOSED]
       This Document Relates to:                      ORDER REGARDING VIDEO ACCESS
25                                                    FOR OCTOBER 27, 2023 HEARING
       ALL ACTIONS
26

27

28
                                                               STIPULATION AND [PROPOSED] ORDER REGARDING
                                                                   VIDEO ACCESS FOR OCTOBER 27, 2023 HEARING
                                                                                       NO. 4:22-MD-03047-YGR
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 1          Plaintiffs and Meta Platforms, Inc., Facebook Holdings, LLC, Facebook Operations, LLC,

 2   Facebook Payments, Inc., Facebook Technologies, LLC, Instagram LLC, and Siculus Inc. (“Meta

 3   Entities”); Snap Inc.; TikTok Inc. and ByteDance Inc. (“TikTok Entities”); and YouTube, LLC,

 4   Alphabet Inc., and Google LLC (“Google Entities”) (collectively “Defendants”) (together the
     “Parties”) by and through their counsel of record hereby stipulate as follows:
 5
            WHEREAS, a hearing on Defendants’ motions to dismiss has been scheduled to take
 6
     place on October 27, 2023 at 10:30 a.m. in the Northern District of California, Oakland Division,
 7
     Courtroom 1, Fourth Floor;
 8
            WHEREAS, the Court has advised that it will allow video access to the hearing for the
 9
     general public if the parties submit a joint request for the same, and as long as the Ninth Circuit
10
     has not rescinded its pandemic-era policy, which would limit remote access to in-court
11
     proceedings to audio only, prior to the hearing;
12
            WHEREAS, significant resources will be saved if some out-of-town counsel are able to
13
     view the October 27, 2023 hearing remotely rather than traveling to appear in person;
14
            WHEREAS, the Parties prefer to observe the hearing remotely by video if given the
15
     option; and
16
            WHEREAS, the Parties have conferred, agree, and jointly seek Court approval, for the
17
     following:
18
            1. If the Ninth Circuit has not rescinded its pandemic-era policy prior to the October 27,
19
                  2023 hearing, public video access will be permitted for the hearing using the webinar
20
                  link found on the Court’s webpage; and
21
            2. If the Ninth Circuit does rescind its pandemic-era policy prior to the October 27, 2023
22
                  hearing, there will be audio remote access only for the hearing.
23

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12           IT IS SO ORDERED.
13

14
     DATE:
15                                                                  Hon. Yvonne Gonzalez Rogers

16

17

18

19                                   SIGNATURE CERTIFICATION

20           Pursuant to Civ. L.R. 5-1(h)(3), I hereby attest that all signatories listed, and on whose

21   behalf the filing is submitted, concur in this filing’s content and have authorized this filing.

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